         Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 1 of 18




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
----------------------------------------------------------------------------X
DOUGLAS J. HORN and CINDY HARP-HORN,                                            Civ. Action No.:

                          Plaintiffs,

                          -against-                                             COMPLAINT and
                                                                                JURY DEMAND
MEDICAL MARIJUANA, INC.,
DIXIE ELIXIRS AND EDIBLES,
RED DICE HOLDINGS, LLC, and
DIXIE BOTANICALS,

                           Defendants.
---------------------------------------------------------------------------X

        Plaintiffs, DOUGLAS J. HORN and CINDY HORN (collectively “Plaintiff”) by their

attorneys, JEFFREY BENJAMIN, P.C. as and for their complaint against the Defendants

MEDICAL MARIJUANA, INC., DIXIE ELIXIRS AND EDIBLES, RED DICE HOLDINGS,

LLC, and DIXIE BOTANICALS, (collectively the “Defendants”), alleges as follows:


                                      PRELIMINARY STATEMENT

1.      This is an action for damages for inter alia, deceptive business practices and violations of

        the New York General Business Law Art 22-A, §349 (“Deceptive Practices Act” or GBL

        §349”), GBL §350 for false advertising, the federal Racketeer Influenced and Corrupt

        Organizations Act (“RICO”) 18 U.S.C. §1962(a)-(d), violations of New York State

        Uniform Commercial Code (UCC) § 2-313 for negligence in products manufacture and

        sales, UCC § 2-318, strict products liability, as well as numerous common law causes of

        action. The Complaint also seeks statutory attorneys’ fees and costs pursuant to the

        statutory violations and the New York General Obligations Law (“GOL”) §5-327, and

        punitive damages.
     Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 2 of 18




                            JURISDICTION AND PARTIES

2.   This Court has subject matter jurisdiction over the action pursuant to 28 U.S.C. §1332,

     because the matter in controversy exceeds the sum of $75,000 and the parties are citizens

     of different states. This Court also has subject matter jurisdiction over certain claims

     herein pursuant to RICO, 18 U.S.C. §1964, and 28 U.S.C. §1331, because they arise

     under the laws of the United States, and over other claims herein pursuant to

     supplemental jurisdiction, 28 U.S.C. §1367.

3.   The venue of this action is proper in this judicial district pursuant to 18 U.S.C. §1965,

     because the plaintiffs live within this District, and a substantial part of the events or

     omissions giving rise to the claim occurred within the Western District of New York, 28

     U.S.C. §1391.

4.   Plaintiffs are natural persons over eighteen years of age and maintain their residence in

     Lockwood, New York.

5.   Upon information and belief, the defendant MEDICAL MARIJUANA, INC. is a

     California business corporation which maintains its principal place of business at 4901

     Morena Blvd., Suite 701, San Diego, California 92117.

6.   Upon information and belief, the defendant, MEDICAL MARIJUANA, INC. is engaged

     in the business of, inter alia, the promotion, manufacture and distribution of hemp-based

     and cannabis products throughout the United States.

7.   Upon information and belief, the defendant DIXIE ELIXIRS AND EDIBLES is a

     Colorado corporation who maintains its principal place of business at 4990 Oakland

     Street Denver, Colorado 80239.

8.   On information and belief, the Defendants, DIXIE ELIXIRS AND EDIBLES is engaged

                                             2
      Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 3 of 18




      in the business of, inter alia, the promotion, manufacture and distribution of hemp-based

      and cannabis products throughout the United States.

9.    Upon information and belief, the defendant RED DICE HOLDINGS LLC d/b/a DIXIE

      BOTANICALS is a Colorado limited liability company who maintains its principal place

      of business at 1610 Wynkoop Street, Suite 400, Denver, Colorado 80202.

10.   On information and belief, the defendant, RED DICE HOLDINGS LLC d/b/a DIXIE

      BOTANICALS is engaged in the business of, inter alia, the promotion, manufacture and

      distribution of hemp-based and cannabis products throughout the United States

11.   All of the above named Defendants aggressively market and sell their products and

      services nationwide generally, and within the State of New York specifically, and the

      causes of action alleged have a direct and harmful impact on the people of the State of

      New York.

                           SPECIFIC FACTS as to PLAINTIFFS

12.   On or around February 24, 2012, plaintiff, Douglas J. Horn, suffered bodily injuries from

      a vehicle accident. He sustained said injuries to his hip and right shoulder as a result of

      the accident. Subsequent to the accident, under treatment by his doctor, he took anti-

      inflammatory and other medication. Some months after the accident, he investigated

      natural medicines as an alternative to his other prescriptions.

13.   In or around September, 2012, plaintiff answered a magazine advertisement from

      defendant DIXIE BOTANICALS for an industrial hemp product called “Dixie X” which

      stated it had “0.00 THC” (delta-9 tetrahydrocannabinol) in it. Annexed hereto as Exhibit

      “A” is a copy of such advertisement.          The product had a compound known as

      Cannabidiol (“CBD”). The advertisement claimed that the product treated inflammation

                                                3
      Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 4 of 18




      and pain.

14.   The advertising by defendant also stated that they imported the hemp product with .3%

      THC, but that they process it down to 0% THC. On or around October 1, 2012, plaintiff

      purchased the “elixir” product, the Dixie X CBD Dew Drops 500 mg Tincture, with 500

      mg of CBD.

15.   In October, 2012, plaintiff was a professional over-the-road hazmat commercial truck

      driver who, prior to 2012, worked for the same company for ten (10) years and drove

      professionally for twenty-nine (29) years.    Plaintiff’s employment as a professional

      commercial driver required that he be and remain free of all illegal and impairing

      substances.

16.   On October 9, 2012, plaintiff submitted to a random urinalysis screening required by his

      employer Enterprise Transportation Company, and as required by the U.S. Department of

      Transportation (“DOT”).

17.   On October 11, 2012, Plaintiff was informed by his employer that he had tested positive

      for a high level of THC. Thereafter, Plaintiff was required to submit to additional

      toxicology screenings which also were positive to an unacceptable high level of THC.

      Plaintiff was then terminated from his employment with Enterprise of approximately 10

      years.

18.   Subsequent to his termination, plaintiff ordered additional quantities of the Dixie X CBD

      tincture to have a laboratory independently test the product to determine if it did indeed

      contain THC.    He sent an unopened bottle of the Dixie X CBD tincture to EMSL

      Analytical, Inc. (“EMSL”) for independent testing. That laboratory informed plaintiff

      that it could not return the sample of the Dixie X product that was taking to plaintiff as

                                              4
      Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 5 of 18




      the substance was illegal and contained levels well over the federal limit as per the U.S.

      DEA regulations. Plaintiff understood that the mere return of the very sample he sent to

      EMSL was itself a violation of law, as defendants’ product was an illegal substance, and

      would have subjected that company to criminal and/or civil liability.

19.   In reliance on the numerous claims, assertions, allegations, false advertising and

      misleading press releases of the defendants, claiming the product contains “0% THC”

      and which does “not conflict with any federal law”, plaintiff purchased and consumed

      from said defendants the product DIXIE X, an elixir marketed to be a natural, safe way to

      relieve pain, nausea, anxiety and convulsions. Plaintiff purchased and consumed said

      product DIXIE X, relying upon the Defendants’ numerous claims that the products were

      legal, safe and did not contain any narcotic or controlled substances, or derivatives.

20.   As a direct and proximate result of consuming this product, plaintiff was summarily

      dismissed from his employment. In addition, he was caused to lose his accumulated

      benefits and suffer substantial current and future economic losses and non-economic

      losses inclusive of emotional pain and anguish, humiliation, and degradation. He was

      fired from his long-term employment and, consequently, lost his livelihood, benefits,

      insurance, pension and job security.

21.   Plaintiff’s damages are ongoing. He is unable to secure employment at his former level

      of expertise and cannot continue in commercial trucking for at least seven years.

      Reputable trucking companies will not hire him based upon his positive toxicology test.

       GENERAL FACTS and ALLEGATIONS as to ALL CAUSES of ACTION

22.   Defendants promote through advertising, distribute and sell “hemp”-based products to be

      used for medicinal purposes.        According to hemp.com, Hemp is a variety of the

                                                5
      Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 6 of 18




      “Cannabis” plant that is grown for the fiber and seeds it produces.          According to

      drugs.com,    Cannabis     contains    the   chemical     compound      “THC”      (delta-9

      tetrahydrocannabinol), which is believed to be responsible for most of the characteristic

      psychoactive effects of cannabis. The dried leaves and flowers of the Cannabis plant are

      known as marijuana.

23.   Under §812 of the federal Controlled Substances Act (“CSA”, 21 U.S.C. 812), marijuana

      is considered a “Schedule 1 drug” because of its THC content. It is defined as such

      because THC has high potential for abuse, it has no currently accepted medical treatment

      use in the U.S.; and there is a lack of accepted safety for use of the drug under medical

      supervision. The cultivation and distribution of marijuana are felonies; and possession for

      personal use is a misdemeanor. In fact, there are examples of consumers of THC oil in

      the U.S. being subjected to serious criminal felonies for the mere possession of such oil:

      http://www.washingtonpost.com/news/local/wp/2015/06/08/mom-who-uses-medical-

      marijuana-faces-up-to-30-years-in-prison/.

24.   Throughout their advertising media, defendants unequivocally and continually represent

      on their websites, press releases and advertising media that their products contain no

      illegal tetrahydrocannabinol (“THC”), and that they conduct testing multiple times and

      that the products will not produce a positive toxicology test for illegal substances. The

      defendants claim that their products can treat a plethora of medical conditions.

      Defendants further represent that they do not grow, sell or distribute and products which

      violate United States Laws and/or the federal “Controlled Substance Act.”

25.   The hemp-based industry is a bourgeoning market, wherein, companies such as

      defendants are manufacturing, selling and distributing products that are hemp-based and

                                               6
      Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 7 of 18




      claim that, although marijuana and hemp are similar substances, the content and ratio of

      the chemical components commonly known as cannabidiol (“CBD”) and THC, found in

      varying degrees, determine whether a substance is illegal to consume or distribute in the

      United States.    Defendants assert among other things that THC, the clearly illegal

      chemical compound found in marijuana, is absent in the industrial hemp products that

      they sell to their respective consumers and end-users.

26.   The defendants, in concert and/or on their own account, undertook affirmative efforts to

      capitalize on the manufacture, production, processing, importation and distribution of

      illegal substances without regard to the consequences, mental or physical harm levied on

      the public such as plaintiff.

27.   The defendants’ CBD health and wellness industry is estimated to be an over five billion

      dollar ($5,000,000,000) market currently.

28.   Defendants market their products as “THC free” and “non-THC,” thereby misleading the

      public at large through their misrepresentation of the true chemical compound make-up

      of products like DIXIE X.

29.   As is widely known, the cultivation and distribution of marijuana is illegal in the United

      States. Defendants circumvent the federal prohibition by extracting CBD from industrial

      hemp grown outside the United States in “secret” locations which MEDICAL

      MARIJUANA, INC. refuses to disclose.

30.   Defendants collective advertising and marketing materials represent that their respective

      products can be used to treat a variety of conditions such as pain, anxiety, nausea and

      seizures.   In support of its false advertising and marketing, defendants specifically

      represent and assert unequivocally that THC is undetectable in its products.

                                               7
      Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 8 of 18




31.   As further inducement for consumers to buy its products, support for its large scale sales

      expansion agenda, and in an effort to attract investors, defendants have collectively and

      on their own account, published numerous press releases and other materials all claiming

      that the collective and/or respective products complained of are non-THC, legal, safe and

      can treat a variety of ailments and diseases. Certain public statements have gone so far as

      to claim CBD can fight metastatic cancers.

32.   Defendants claim that their products are tested multiple times during the manufacturing

      process, that they are legal to consume in the United States, and that they do not grow,

      sell or distribute any substances that violate the law.

                                          COUNT I
                         Deceptive Business Practices/False Advertising

33.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

34.   This Cause of Action is asserted against the Defendants that Plaintiffs suffered damages

      as a result of the defendant’s deceptive business practices and false advertising in

      violation of GBL §349 and §350.

35.   In the course of the within transaction, Defendants committed and/or engaged in one or

      more of the following acts or conduct and/or made the following misrepresentations:

      a.        misrepresenting in advertising that the Dixie Products were safe and legal for
                consumers;

      b.        misrepresenting in advertising that Defendants had adequately tested their
                products;

      c.        misrepresenting that the products complied New York State and the federal laws
                and regulations;

      d.        misrepresenting that their products contained no THC;

                                                8
      Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 9 of 18




      e.     misrepresenting that the ingestion of its products would not cause a positive
             toxicology result;

      f.     misrepresenting that their products had beneficial health, wellness and medical
             uses.

36.   All of the above misrepresentations, acts and/or conduct by express statement on

      Defendants involved material elements of the transaction between the parties and were

      unfair, illegal, false, deceptive and/or misleading.

37.   Additionally, such representations were likely to, and in fact did, harm, deceive or

      mislead the Plaintiffs who were acting reasonably and in reliance thereon.

38.   The conduct and actions described herein are directed at the general public and have a

      broad impact on consumers at large and are not isolated or unique to this transaction

      between the parties.

39.   The aforementioned conduct constitutes deceptive business practices and false

      advertising, in violation of General Business Law Art. 22-A, §349 and §350.

40.   As a result of the defendants’ conduct, Plaintiffs have sustained damages for which they

      are entitled to recover from Defendants.

41.   The Plaintiffs are entitled to recover costs and attorney’s fees from the defendant

      pursuant to GBL §349(h) and §350-e(3).

                              COUNT II - RICO VIOLATION

42.   Plaintiffs repeat and re-allege each and every allegation made in the paragraphs above

      and incorporate same herein as if fully set forth.

43.   At all times relevant to this complaint, all of the defendant entities were and are

      enterprises as defined by 18 U.S.C. §1961(4) that are engaged in, and whose activities


                                                 9
      Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 10 of 18




      affect, interstate and foreign commerce. Their primary purpose and function was and is to

      profit from the marketing, distribution, promotion, advertising and/or sale of the Dixie X

      Elixir product sold to Plaintiff. Upon information and belief, in addition to defendants’

      legitimate activities, however, they were used in a pattern of racketeering activity in

      violation of 18 U.S.C. §1962(a), (b), (c), (d).

44.   The defendants herein are “persons” pursuant to 18 U.S.C. §1961(3).

45.   The patterns of racketeering activity engaged in by the defendants involved separate but

      related schemes, carried out from the original sale to plaintiff of the product to the

      present, and directed at the plaintiffs and other individuals in violation of 18 U.S.C.

      §1961(1) and §1962:

      a) Selling and/or distributing a product through the U.S. mail that was known or should

         have been known to be a controlled substance or otherwise illegal or otherwise in

         violation of federal or state law;

      b) Inducing the sale of an illegal product through promises of curing medical conditions

         of consumer purchasers of said product;

      c) Misrepresenting in advertising that the Dixie Products were safe and legal for

         consumers;

      d) Misrepresenting that the products complied New York State and the federal laws and

         regulations;

      e) Purposefully failing to disclose material facts regarding the product to induce the

         purchase of an illegal product;




                                                10
      Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 11 of 18




      f) Concealing the true chemical content from consumers in its advertising and labelling

         in order to avoid inquiry into the legality of same.

46.   The pattern of racketeering activity engaged in by the defendants named herein involved

      fraudulent acts in support of the above schemes constituted mail and wire fraud (18

      U.S.C. §1341 and §1343), engaged in monetary transactions in property derived from

      specific unlawful activity (18 U.S.C. §1957), all of which is “racketeering activity,” as

      defined in 18 U.S.C. §1961(1) and §102 of the Controlled Substances Act.

47.   The above described are numerous predicate acts of wire fraud, interstate transportation

      of controlled substance(s) and unlawful activity involving monetary transactions relating

      to the plaintiffs and other consumers. The predicate acts include advertisements in

      multiple media, telephone calls containing misrepresentations or omissions made in

      furtherance of the schemes, containing misrepresentations or omissions in furtherance of

      the schemes, derived from specified unlawful activity. The plaintiffs herein relied upon

      the misrepresentations and omissions directed at the plaintiffs herein by the defendants as

      part of their pattern of racketeering activity, and as a result suffered monetary and

      property damages.

                                        COUNT III
                                   Fraudulent Inducement

48.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

49.   This Cause of Action is asserted against Defendants for actual, compensatory and

      punitive damages based upon common law fraud and/or fraud in the inducement.

50.   The conduct referred to above constitute numerous intentional misrepresentations,


                                              11
      Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 12 of 18




      concealments and/or omissions of fact by Defendants through media, advertising and

      websites.

51.   The material misstatements, concealments and/or omissions as to the ingredients,

      toxicology, and effects of Defendants’ products, are all material inducements to

      Plaintiff’s acquisition and use of same, were made with full knowledge of their falsity

      and/or with reckless disregard of the truth.

52.   On information and belief, Defendants intended that the Plaintiffs rely upon the

      aforementioned misrepresentations, concealments and/or omissions to induce them to

      acquire and consume said products.

53.   Plaintiffs reasonably relied on Defendants’ intentional misrepresentations, concealments

      or omissions inducing them purchase and consume their products.

54.   As a result of the aforementioned conduct of Defendants, Plaintiffs were injured for

      which they are entitled to recover actual, compensatory and punitive damages.

55.   On information and belief, the above-mentioned acts were committed by Defendants

      willfully, wantonly and with reckless disregard of the rights of the Plaintiffs.

                                        COUNT IV
                        Violations of UCC § 2-318 Products Liability

56.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

57.   Defendants knowingly did sell, market and distribute the product known to be defective,

      illegal and/or unreasonably dangerous.

58.   There was no substantial change in the condition of the Dixie X Botanical product and it

      remained in original manufactured condition prior to Plaintiffs’ acquisition and


                                               12
      Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 13 of 18




      consumption.

59.   Said product(s) contained illegal and harmful substances which caused harm to Plaintiff

      to which he is entitled to recover.

                                          COUNT V
                                      Breach of Contract

60.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

61.   The parties entered into a written agreement for the Plaintiffs to purchase the product and

      the Defendants agreed to provide the product (the “Contract”).

62.   Consideration was paid by Plaintiffs to Defendants as set forth in the Contract.

63.   By reason of all of the foregoing, Defendants breached the Contract between the parties

      by refusing or failing to perform thereon.

64.   Plaintiffs have suffered actual and compensatory damages as a result of Defendants’

      breach.

                                          COUNT VI
                                 Breach of Express Warranty
                                  Violations of UCC § 2-313

65.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

66.   Defendants made certain specific representations and express warranties in connection

      with the sale of the Dixie X product, as described above, regarding the nature of the

      product including the condition or chemical composition of its product.

67.   Such representations were expressed as statements of fact.

68.   Such representations were false by Defendants.


                                              13
      Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 14 of 18




69.   Defendants breached such express warranties in that they failed to perform the terms of

      such warranty to the detriment of Plaintiff.

70.   As a result of the defendant’s breach, Plaintiffs have sustained damages for which they

      are entitled to recover from Defendants.

                                         COUNT VII
                                      Unjust Enrichment

71.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

72.   This Cause of Action is asserted for restitution of Plaintiff based upon common law

      unjust enrichment.

73.   Plaintiffs conferred their full payment price on Defendants.

74.   By unjustly retaining all of Plaintiff’s funds, defendants were unjustly enriched.

75.   Defendant continues to retain the benefit conferred by Plaintiff.

                                         COUNT VIII
                                          Negligence

76.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

77.   Defendants did not exercise due care in the processing of its product at issue and/or

      distribution of the same in order to ensure its safety for human consumption, and to

      ensure its legality in and throughout the United States.

78.   Defendants did not exercise due care in the product testing, reporting of the results of the

      toxicity levels of the products, and the sale, marketing and/or distribution complained of

      herein.

79.   Defendants did not exercise due care to ensure that its products complied with all relevant

                                                 14
      Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 15 of 18




      state and federal laws and regulations.

80.   Plaintiffs’ harm was the natural and foreseeable consequence of the Defendants’ breach

      of its duty to act in a reasonable manner.

81.   By reason of the foregoing breach, Plaintiffs consequently suffered significant monetary

      damages and are entitled to recovery.

                                         COUNT IX
                               Negligent Infliction of Emotional Harm

82.   Plaintiffs repeat and reallege each and every allegation above and incorporate same

      herein.

83.   Defendants’ respective acts of will and wonton disregard for the safety of consumers is

      extreme, outrageous and shocking.

84.   Defendants’ respective reckless and/or negligent behavior has caused Plaintiffs physical

      harm in the ingestion of caustic, toxic, and/or an illegal substance.

85.   Defendants’ respective reckless and/or negligent behavior has caused Plaintiff mental

      anguish, harm and injury, loss of sleep, loss of appetite, anxiety, anger and depression.

86.   By reason of the foregoing, Plaintiffs have suffered humiliation, economic harm, loss of

      employment, loss of social and professional stature, actual present and future financial

      insecurity and loss of reputation.

87.   Plaintiffs are entitled to damages in an amount to be determined at trial which is greater

      than the jurisdictional amount required.




                                                 15
       Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 16 of 18




       WHEREFORE, Plaintiffs demand judgment against the defendants, for actual,

consequential, incidental, statutory and punitive damages as follows:

       i.      On all causes of action, actual and compensatory damages in a sum of money

               having a present value which exceeds the jurisdictional limits of this Court;

      ii.      Punitive damages based on defendants’ knowing and willful misrepresentations

               pursuant to Plaintiffs RICO and Fraud claims;

     iii.      Statutory damages pursuant to those causes of action;

     iv.       Interest, costs, disbursements and attorneys’ fees pursuant to statutory causes of

               action;

      v.       Such other relief as the court may deem just proper.


Dated: Forest Hills, New York
       August 5, 2015



                                             JEFFREY BENJAMIN, P.C.


                                             Jeffrey Benjamin
                                             By:    Jeffrey Benjamin, Esq.
                                             Attorney for Plaintiffs
                                             DOUGLAS J. HORN and CINDY HORN
                                             118-21 Queens Boulevard, Suite 501
                                             Forest Hills, New York 11375
                                             (718) 263-1111




                                                16
       Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 17 of 18




                              DEMAND FOR A TRIAL BY JURY

Pursuant to the Federal Rules of Civil Procedure, plaintiffs demand a trial by jury in this action.


Dated: Forest Hills, New York
       August 5, 2015




                                                              Jeffrey Benjamin
                                                              Jeffrey Benjamin, Esq.




                                                 17
      Case 1:15-cv-00701-JWF Document 60-3 Filed 08/30/18 Page 18 of 18




                                 DISTRIBUTION LIST

MEDICAL MARIJUANA, INC
4901 Morena Blvd., Suite 701
San Diego, California 92117

DIXIE ELIXIRS AND EDIBLES
4990 Oakland Street
Denver, Colorado 80239

RED DICE HOLDINGS LLC
d/b/a DIXIE BOTANICALS
1610 Wynkoop Street, Suite 400
Denver, Colorado 80202




                                        18
